
In re John Sonny Chutz, Leonard King, Elliot Smith and Camile Trahan, applying for writ of certiorari, prohibition and mandamus to the Fourth Circuit Court of Appeal, No. 13258 from the Twenty-fifth Judicial District Court, Parish of St. Bernard, No. 38-421.
Case below: 446 So.2d 775.
Writ denied. The result, remanding the case to the district court for further proceedings, is correct. We decline, however, to express an opinion at this stage of the proceeding as to whether the date of “contraction” can be established with sufficient legal certainty to hold that the cause of action arises at that time. Such a determi*1075nation necessarily requires expert testimony explaining how such time, or period of time, can be established. Until such a record is before the court, the issue cannot be fairly resolved. See Owens v. Martin, 438 So.2d 1114 (La.1984).
